Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 1 of 13




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No.:

ASSOCIATION INSURANCE COMPANY,

       Plaintiff,

v.

MOUNTAINVIEW CONSTRUCTION SERVICES, LLC,
GERALD C. CAVES, CARBONDALE GLEN LOT E-8,
LLC, CARBONDALE GLEN LOT E-15, LLC,
CARBONDALE GLEN LOT D-22, LLC, WOODBRIDGE
MORTGAGE INVESTMENT FUND 1, LLC, and
3X A CHARM, LLC,

      Defendants.
______________________________________________________________________________

                  COMPLAINT FOR DECLARATORY RELIEF
______________________________________________________________________________

       Association Insurance Company. (“Association”), by and through undersigned counsel,

states and alleges for its Complaint for Declaratory Relief (“Complaint”) against Defendants

Mountainview Construction Services, LLC (“MCS”) and Gerald C. Caves; Carbondale Glen Lot

D-22, LLC (“Carbondale D-22”), Carbondale Glen Lot E-8, LLC (“Carbondale E-8”),

Carbondale Glen Lot E-15 (“Carbondale E-15”) (collectively, “Claimants”); and Woodbridge

Mortgage Investment Fund 1, LLC and 3X A Charm (collectively, “Interested Parties”), as

follows:

                                   NATURE OF THE ACTION

       1.      This action for declaratory relief is brought by Association pursuant to 28 U.S.C.

§ 2201 and pursuant to Rule 57 of the Federal Rules of Civil Procedure. Association seeks a
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 2 of 13




declaration of its rights, duties, and obligations under commercial general liability insurance

policies issued to MCS.

                                              PARTIES

       2.      Association is an insurance company incorporated in the State of Georgia, and its

principal place of business is located in the State of Georgia.

       3.      Upon information and belief, MCS is incorporated in the State of Colorado, and

its principal place of business is located in the State of Colorado.

       4.      Upon information and belief, Gerald C. Caves is an individual and resident and

citizen of the State of Colorado, and the sole member and manager of MCS.

       5.      Upon information and belief, Carbondale D-22 is a Colorado Corporation, and its

principal place of business is located in the State of California.

       6.      Upon information and belief, Carbondale E-8 is a Colorado Corporation, and its

principal place of business is located in the State of California.

       7.      Upon information and belief, Carbondale E-15 is a Colorado Corporation, and its

principal place of business is located in the State of California.

       8.      Upon information and belief, Woodbridge Mortgage Investment Fund 1, LLC is a

Delaware limited liability company with an interest in the real property located at Lot E-8, Aspen

Glen, Garfield County, Colorado (“Lot E-8”).

       9.      Upon information and belief, 3X A Charm is a Delaware limited liability

company with an interest in the real property located at Lot E-8.

                                    JURISDICTION AND VENUE




                                                  2
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 3 of 13




         10.   This Court has jurisdiction over this controversy pursuant to 28 U.S.C. § 1332

because there is complete diversity of citizenship and because the amount in controversy exceeds

$75,000, exclusive of interest and costs.

         11.   This Court has jurisdiction over this controversy pursuant to 28 U.S.C. § 2201, et

seq., because Association seeks a declaration as to its rights, duties, and obligations under the

insurance policies issued to MCS.

         12.   Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(a) because a

substantial portion of the events giving rise to this controversy occurred in this District.

                                INSURANCE POLICY INFORMATION

         13.   Association issued to MCS Commercial General Liability Policy No. GLP

0152303 00, effective June 18, 2013 to June 18, 2014 (“Policy 1,” attached hereto as Exhibit 1),

and General Liability Policy No. GLP 0152303 01, effective June 18, 2014 to June 18, 2015

(“Policy 2,” attached hereto as Exhibit 2) (collectively, the “Policies”).

         14.   Association provided certain insurance coverages to MCS under the Policies

subject to the terms, limitations, conditions, and exclusions as more specifically set forth in the

Policies.

         15.   The Policies each contain a limit of $1,000,000 “Each Occurrence,” with a

$2,000,000 General Aggregate limit, a $2,000,000 Products-Completed Operations Aggregate

Limit, and a $1,000,000 Contingent Earth Movement Liability Limit. (Exhibit 1, p.10; Exhibit 2,

p.18).

                                      UNDERLYING ACTIONS

         16.   On or about November 13, 2013, Carbondale E-8 contracted with MCS for the

development of Lot E-8, including the construction of a residence.



                                                  3
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 4 of 13




       17.     On or about January 30, 2014, Carbondale D-22 contracted with MCS for the

development of Lot D-22, Aspen Glen, Garfield County, Colorado (“Lot D-22”), including the

construction of a residence.

       18.     On or about July 22, 2014, Carbondale E-15 contracted with MCS for the

development of Lot E-15, Aspen Glen, Garfield County, Colorado (“Lot E-15”), including the

construction of a residence.

       19.     MCS acted as a General Contractor for the projects on Lot D-22, Lot E-8, and Lot

E-15, and was to furnish all of the materials, equipment, labor, and perform all work necessary to

completely construct the residences in accordance with the plans.

       20.     On September 19, 2013, Carbondale D-22 filed the Complaint in Carbondale

Glen Lot D-22, LLC v. Mountainview Construction Services, LLC, et al, 14CV30266, District

Court, Garfield County, Colorado (the “D-22 Action,” attached hereto as Exhibit 3).

       21.     On September 19, 2013, Carbondale E-15 filed the Complaint in Carbondale

Glen Lot E-15, LLC v. Mountainview Construction Services, LLC, et al, 14CV30267, District

Court, Garfield County, Colorado.       Subsequently, on September 29, 2015, the Amended

Complaint was filed (the “E-15 Action,” attached hereto as Exhibit 4).

       22.     The claims asserted in the D-22 Action and the E-15 Action are substantively

similar. In both complaints, the claims asserted are Breach of Contract and Breach of Trust Fund

Statute/Conversion/Civil Theft. These claims are based on allegations that MCS drew funds

related to its work on Lot D-22 and Lot E-15 which were intended to pay subcontractors and

materialman for their work, but the subcontractors and materialman were never paid. Further,

MCS is alleged to violated the contract by failing to provide the invoices of the subcontractors




                                                4
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 5 of 13




and materialman to substantiate the draws. MCS is alleged to have drawn $262,183.92 in funds

related to Lot D-22 and $22,125.00 in funds related to Lot E-15.

       23.     On September 26, 2013, Carbondale E-8 filed the Complaint in Carbondale Glen

Lot E-8, LLC v. Mountainview Construction Services, LLC, et al, 14CV30276, District Court,

Garfield County, Colorado. On or around February 11, 2015, Association received the Amended

Complaint in this action, though it has not been filed (the “E-8 Action,” attached hereto as

Exhibit 5).

       24.     A notice of construction defects pursuant to C.R.S. § 13-20-801, et seq., the

Colorado Construction Defect Action Reform Act (the “CDARA Notice”) was attached as an

exhibit to the Amended Complaint in the E-8 Action.

       25.     The CDARA Notice lists four construction defects related to the design and

construction of Lot E-8, including:

               a. The grading of the lot was changed and the building raised from what was
                  shown in the architectural and landscape plans;

               b. The upper level of the roof plate was raised from what was shown on the
                  approved plans;

               c. The roof framing plan for construction was only a draft plan that clearly
                  identified a “PROBLEM” that was not resolved; and

               d. As a result of the above, the residential home that was the main focus of the
                  overall project was constructed two feet two high in violation of Garfield
                  County zoning and Aspen Glen Subdivision’s height restrictions, resulting in
                  a stop work order and requiring the second level of the home, including the
                  roof, to be removed, redesigned, and reconstructed.

       26.     In the E-8 Action, five claims are asserted against MCS, including Breach of

Contract; Breach of Contract – Implied Warranty of Fitness; Negligence/Negligent Construction;

Breach of Trust Fund Statute/Conversion/Civil Theft; and Indemnity.




                                               5
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 6 of 13




        27.     These claims are based on allegations that MCS failed to complete work on Lot

E-8 in a workman-like manner; deviated from the plans without a change order signed by

Carbondale E-8 in violation of the contract; completed work according to structural plans that

prominently displayed the word “PROBLEM;” drew at least $275,269.58 in funds related to its

work on Lot E-8 which were intended to pay subcontractors and materialman for their work, but

the subcontractors and materialman were never paid; and failed to provide the invoices of the

subcontractors and materialman to substantiate the draws.

        28.     In the E-8 Action, Carbondale E-8 alleged that MCS’s alleged negligence resulted

in the loss of actual use of Lot E-8.

        29.     MCS tendered a claim for defense and indemnity to Association for the D-22

Action, E-8 Action, and E-15 Action (collectively, “Underlying Actions”).

        30.     Upon receipt of notice of the claim, Association declined to defend and indemnify

MCS based on various terms, limitations, conditions, and exclusions set forth in the Policies and

more fully discussed below.

        31.     On August 4, 2015, Association received notice from MCS that it intended to

enter into a settlement with all other parties.

        32.     Upon information and belief, the settlement includes a confessed judgment from

MCS to Carbondale D-22, Carbondale E-8, and Carbondale E-15 that the parties believe to be

reasonable under the circumstances. Additionally, MCS and Caves agree to assign to Claimants

all rights MCS and Caves have against Association for its failure to defend and indemnify MCS

and Caves in the E-8 Action.

        33.     A hearing before Arbitrator Richard Greenleaf is scheduled for August 17, 2015,

at which time the reasonableness and propriety of the proposed settlement will be considered.



                                                  6
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 7 of 13




                            INSURANCE COVERAGE ISSUES IN DISPUTE

          34.   Association incorporates Paragraphs 1 though 33 of its Complaint as if fully

restated, realleged, and set forth herein.

          35.   The Policies provide coverage to MCS for MCS’s liability to third parties on an

“occurrence” basis, covering “bodily injury” and “property damage” occurring during the policy

period.     The Policies provide in pertinent part as follows concerning the defense and

indemnification duty to insureds:

                1.     Insuring Agreement

                       a. We will pay those sums that the insured becomes legally
                       obligated to pay as damages because of . . . “property damage” to
                       which this insurance applies. We will have the right and duty to
                       defend the insured against any “suit” seeking those damages.
                       However, we will have no duty to defend the insured against any
                       “suit” seeking damages for “bodily injury” or “property damage”
                       to which this insurance does not apply. We may, at our discretion,
                       investigate any “occurrence” and settle any claim or “suit” that
                       may result.

(Exhibit 1, p. 21; Exhibit 2, p. 29)

          36.   The Policy contains the following applicable definitions:

                13.   “Occurrence” means an accident, including continuous or repeated
                exposure to substantially the same general harmful conditions.

                17.     “Property damage” means:

                       a. Physical injury to tangible property, including all
                          resulting loss of use of that property. All such loss of
                          use shall be deemed to occur at the time of the physical
                          injury that caused it; or
                       b. Loss of use of tangible property that is not physically
                          injured. All such loss of use shall be deemed to occur
                          at the time of the ‘occurrence’ that caused it.

(Exhibit 1, pp. 34-35; Exhibit 2, pp. 43-44)




                                                 7
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 8 of 13




       37.     Many, or all, of the allegations set forth in the D-22 Complaint, the E-8

Complaint, and the E-15 Complaint fail to describe any physical injury to tangible property, nor

do they describe any loss of use of tangible property that is not physically injured. Accordingly,

the allegations set forth in the D-22 Complaint, the E-8 Complaint, and the E-15 Complaint do

not trigger coverage under the Policies.

       38.     The Policies contain Exclusions j. and m., and the Residential Faulty, Defective or

Poor Workmanship Exclusion, which provide a basis for the denial of a defense and

indemnification of MCS.

       39.     The Policies contain Exclusion j. Damage to Property, which provides as follows:

               j.     Damage to Property

                      “Property damage” to:

                                           ***
                      (5)     That particular part of real property on which you or any
                              contractors or subcontractors working directly or indirectly
                              on your behalf are performing operations, if the “property
                              damage” arises out of those operations; or
                      (6)     That particular part of any property that must be restored,
                              repaired or replaced because “your work” was incorrectly
                              performed on it.

(Exhibit 1, pp. 24-45; Exhibit 2, pp. 32-33)

       40.     The Policies contain Exclusion m. Damage To Impaired Property Or Property Not

Physically Injured, which provides as follows:

                m.    Damage To Impaired Property Or Property Not Physically Injured.

                      “Property damage” to “impaired property” or property that has not
                      been physically injured, arising out of:

                      (1)     A defect, deficiency, inadequacy or dangerous condition in
                              “your product” or “your work”; or

                      (2)     A delay or failure by you or anyone acting on your behalf

                                                 8
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 9 of 13




                                to perform a contract or agreement in accordance with its
                                terms.

(Exhibit 1, p. 25; Exhibit 2, p. 33)

       41.     The Policies contain the following applicable definitions:

               8. “Impaired property” means tangible property, other than “your
                  product” or “your work”, that cannot be used or is less useful because:

                     a. It incorporates “your product” or “your work” that is known or
                        thought to be defective, deficient, inadequate or dangerous; or

                     b. You have failed to fulfill the terms of a contract or agreement;

                     if such property can be restored to use by the repair, replacement,
                     adjustment or removal of “your product” or “your work” or your
                     fulfilling the terms of the contract or agreement.

               21.      “Your product”:

                        a.      Means:

                                (1) Any goods or products, other than real property,
                                    manufactured, sold, handled, distributed or disposed of
                                   by:

                                         (a)   You;
                                         (b)   Others trading under your name; or
                                         (c)   A person or organization whose business or
                                               assets you have acquired;

                                (2) Containers (other than vehicles), materials, parts or
                                    equipment furnished in connection with such goods or
                                    products.

                        b.      Includes:

                                (1) Warranties or representations made at any time with
                                    respect to the fitness, quality durability, performance or
                                   use of “your work”;
                                (2) The providing of or failure to provide warnings or
                                    instructions.

                        c.      Does not include vending machines or other property
                                rented to or located for the use of others but not sold.

                                                  9
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 10 of 13




               22.     “Your work”:

                       a.      Means:

                               (1) Work or operations performed by you or on your
                                   behalf; and
                               (2) Materials, parts or equipment furnished in connection
                                  with such work or operations.

                       b.      Includes:
                               (1) Warranties or representations made at any time with
                                   respect to the fitness, quality durability, performance or
                                  use of “your work”;
                               (2) The providing of or failure to provide warnings or
                                   instructions.

(Exhibit 1, pp. 33, 35-36; Exhibit 2, pp. 41, 44).

       42.     Pursuant to Colorado law and Tenth Circuit precedent as set forth in Greystone

Constr., Inc. v. Nat’l Fire & Marine Ins. Co., 661 F.3d 1272 (10th Cir. 2011); Cool Sunshine

Heating and Air Conditioning, Inc. v. Am. Family Mut. Ins. Co., 2014 U.S. Dist. LEXIS 174818,

*1 (D. Colo. Dec. 17, 2014) and Crossen v. Am. Family Mut. Ins. Co., 2010 U.S. Dist. LEXIS

68108, *1 (D. Colo. July 7, 2010), Exclusions j.(5) and (6) and m. exclude coverage for property

damage sustained as a result of faulty workmanship.

       43.     All operations performed on Lot D-22, Lot E-8, and Lot E-15 constituted MCS’s

work because MCS was the General Contractor for each of the lots.

       44.     All of the alleged property damage arose out of MCS’s operations on that

particular part of Lot D-22, Lot E-8, and Lot E-15 that allegedly sustained property damage.

Accordingly, coverage is excluded by Exclusion j.(5) of the Policies.

       45.     To the extent that any particular part of Lot D-22, Lot E-8, and/or Lot E-15

necessitates restoration, repair, or replacement, it is because MCS’s work was incorrectly




                                                 10
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 11 of 13




performed on Lot D-22, Lot E-8, and Lot E-15. Accordingly, coverage is excluded by Exclusion

j.(6) of the Policies.

        46.      Any alleged impairment of Lot D-22, Lot E-8, and/or Lot E-15 is due to defects,

deficiencies, inadequacies, or dangerous conditions resulting from MCS’s work or MCS’s failure

to perform a contract. Accordingly, coverage is excluded by Exclusion m. of the Policies.

        47.      The Policies contain endorsement GL RFWE 02 08, the “Residential Faulty,

Defective or Poor Workmanship Exclusion,” which provides:

                 l.     Faulty, Defective or Poor Workmanship in Your Work
                 This insurance does not apply to any claim or “suit” for the cost of repair,
                 replacement, adjustment, removal, loss of use, inspection, disposal, or
                 otherwise making good any faulty, defective or poor workmanship in
                 “your work” for which any insured or any insured’s employees,
                 contractors or subcontractors may be liable.

                 This exclusion does not include “property damage” sustained by any other
                 property that is caused by the faulty, defective or poor workmanship in
                 “your work”.

                 This exclusion applies only to residential structures for which coverage is
                 not otherwise excluded under this insurance.

(Exhibit 1, p. 73; Exhibit 2, p. 821)

        48.      The Underlying Actions constitute claims or suits for the cost of making good

MCS’s faulty, defective, or poor workmanship on residential structures for which MCS, its

employees, contractors, and subcontractors are liable.

        49.      There are no allegations of property damage sustained by any property other than

that which was within the scope of MCS’s work.




1
  In Policy 2, the endorsement is titled “Resulting Damage Coverage” and is on form GL RFWE 10 13; the text of
the endorsement is virtually identical to that of GL RFWE 02 08.

                                                      11
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 12 of 13




       50.     Pursuant to the principles of contract interpretation, set forth in Chacon v.

American Family Mut. Ins. Co., 788 P. 2d 748, 750 (Colo. 1990), the Residential Faulty,

Defective or Poor Workmanship Exclusion should be given its plain and ordinary meaning.

       51.     The Residential Faulty, Defective or Poor Workmanship Exclusion is not

ambiguous and must be construed so as to give the Exclusion exclude coverage for any defense

or indemnification of MCS in the Underlying Actions.

       52.     All of the alleged property damage identified in the D-22 Complaint, the E-8

Complaint, and the E-15 Complaint was sustained by property constituting MCS’s work.

Accordingly, coverage is excluded by the Residential Faulty, Defective or Poor Workmanship

Exclusion.

       53.     Because there is no reasonable interpretation of the Policies’ terms, limitations,

conditions, and exclusions that provides coverage for claims raised against MCS in the

Underlying Actions, Association has no duty to provide defense or indemnification.

                                     First Claim for Relief
                    (Declaratory Relief Pursuant to 28 U.S.C. § 2201 et seq.)

       54.     Association incorporates Paragraphs 1 though 53 of its Complaint as if fully

restated, realleged, and set forth herein.

       55.     An actual and justiciable controversy presently exists between Association and

MCS concerning the coverage available under the Policies with respect to Claimants’ and the

Interested Parties’ alleged losses and damages as set forth in the Underlying Actions.

       56.     Association respectfully requests this Court to make a declaration concerning its

rights, duties, and obligations to MCS under the Policies’ terms, conditions, limitations, and

exclusions.




                                                12
Case 1:15-cv-02025-RPM Document 1 Filed 09/15/15 USDC Colorado Page 13 of 13




       WHEREFORE, Association respectfully requests this Court for judgment on this

Complaint as follows:

              a. That this Court determine and declare Association’s rights, duties, and

                 obligations to MCS under the Policies;

              b. For pre- and post-judgment interest, costs of suit, and attorneys’ fees to the

                 fullest extent allowed by law; and

              c. For such other relief as this Court deems just and equitable.


DATED: September 15, 2015


                                           Respectfully submitted,

                                           /s/ Cathleen Heintz____________________
                                           Cathleen H. Heintz
                                           Elayna M. Fiene
                                           Wilson Elser Moskowitz Edelman & Dicker, LLP
                                           1225 17th Street, Ste 2420
                                           Denver, CO 80202
                                           Telephone: (303) 572-5300
                                           Facsimile: (303) 572-5301
                                           Email: Cathleen.Heintz@wilsonelser.com;
                                           Elayna.Fiene@wilsonelser.com




                                              13
